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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Hadi Abuatelah
                               Plaintiff,
v.                                                    Case No.: 1:22−cv−03998
                                                      Honorable Steven C. Seeger
Officer One, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 21, 2023:


        MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to
file under seal the motion to stay (Dckt. No. [60]) is hereby granted. The Court reviewed
Plaintiff's motion to lift the stay (Dckt. No. [50]), and the Defendants' motion to stay
(Dckt. Nos. [61, 62]). If any party seeks to file a response to either motion, the response is
due is due by May 5, 2023. If the parties choose to rest on their cross motions, that's fine
too. Emailed notice(cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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